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UNITED STATES DlSTRICT COURT Fi’--ED E`{~--~~_-D»C-
WESTERN DISTRICT OF TENNESSEE l
Eastern Division 05 JUL 22 PH 143 29

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CLERK, U,S. BSS?HCT COURT
UNITED STATES oF AMERICA W/U 05 m M<SON

_vS_ Case No. 1:05cr10043-001T

GUILLERMO OROZCO-BOBADILLA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, l l l
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing
Date: Jul 22, 2005 /r"*_

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llt`not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion ot`the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£)(2).'=' " . '

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion ol` the attorney for the government or upon the judicial cftlcer‘S OWn motion, if there is a serious risk that the
defendant (a) will tlee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (EIE§) Order of Temporary Detentien

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ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10043 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

